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                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                             CENTRAL DIVISION

EARNEST LARRY STOCKER                                                        PLAINTIFF

v.                                 4:21-CV-00771-BSM

JIMMY BRADLEY, Cleveland County,                                         DEFENDANTS
Arkansas Sheriff’s Dept., et al.

                                        ORDER

       Earnest Larry Stocker’s motion to dismiss [Doc. No. 3] is granted, and his complaint

is dismissed without prejudice. FED. R. CIV. P. 41(a). Cleveland County’s motion to dismiss

[Doc. No. 4] is denied as moot.

       IT IS SO ORDERED this 6th day of October, 2021.


                                                _________________________________
                                                UNITED STATES DISTRICT JUDGE
